Case 1:19-cr-00576-BMC Document 123 Filed 10/14/22 Page 1 of 2 PageID #: 1450




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ____________________________________

   UNITED STATES OF AMERICA,

                                                        NOTICE OF MOTIONS

                          vs.
                                                        Case No. 19 Cr. 576 (BMC)
   GENARO GARCIA LUNA,

                     Defendant.
   ____________________________________

          PLEASE TAKE NOTICE that upon the annexed Memorandum of Law,

   attached exhibits, and all prior papers and proceedings herein, the defendant, GENARO

   GARCIA LUNA, will move before the Honorable Brian M. Cogan, United States District

   Court Judge for the Eastern District of New York, for an order:

          1.      Dismissing Counts one through four of the superseding indictment as

   barred by the statute of limitations;

          2.      Directing the government to provide the defense with a bill of particulars;

   and

          3.      Granting such further relief as this Court deems just and proper.
Case 1:19-cr-00576-BMC Document 123 Filed 10/14/22 Page 2 of 2 PageID #: 1451




   Dated: October 14, 2022
                                      Respectfully Submitted,



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   TO:   Clerk of the Court, EDNY

         All Counsel (ECF)
